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                              IN THE UNITED STATES DISTRICT COURT
                       IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA



         UNITED STATES OF AMERICA,                      ) Case No.: 2:11-CR-00490 JAM
                                                        )
                               Plaintiff,               ) WAIVER OF DEFENDANT’S
                                                        ) PERSONAL PRESENCE (FRCP 43)
                vs.                                     )
                                                        )
         SERGEY PUKHKAN,                                )
                                                        )
                               Defendant.               )
                                                        )
                                                        )
                Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, defendant Sergey
         Pukhkan hereby waives the right to be present in person in open court upon the hearing of any
         motion or other proceeding in this case, including, but not limited to, when the case is set for
         trial, when a continuance is ordered, and when any other action is taken by the Court before or
         after trial, except upon arraignment, plea, empanelment of jury and imposition of sentence.
         Defendant hereby requests the Court to proceed during every absence of him which the Court
         may permit pursuant to this waiver; agrees that his interests will be deemed represented at all
         times by the presence of his attorney, the same as if defendant were personally present, and
         further agrees to be present in court ready for trial any day and hour the Court may fix in his
         absence.
         / / / / /
         / / / / /
         / / / / /




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                Defendant further acknowledges that he has been informed of his rights under Title 18
         U.S.C. sections 3161-3174 (Speedy Trial Act), and authorizes his attorney to set times and
         delays under that Act without defendant being present.
         Dated: March 15, 2011                              /s/ Sergey Pukhkan
                                                            SERGEY PUKHKAN
                                                            (Original retained by attorney)
                I agree with and consent to my client’s waiver of appearance.
         Dated: March 15, 2012                              /s/ Michael E. Hansen
                                                            MICHAEL E. HANSEN
                                                            Attorney for Defendant
                                                            SERGEY PUKHKAN

                                                   ORDER
                I approve the above waiver of presence. IT IS SO ORDERED.
         Dated: 3/15/2012
         __________________________________          /s/ John A. Mendez _______________________
                                                     JOHN A. MENDEZ
                                                     United States District Court Judge




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